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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

         Plaintiff,                                          Case No. 3:20-cr-51

vs.

KEVIN KOVACS,                                                District Judge Michael J. Newman

      Defendant.
______________________________________________________________________________

  ORDER: (1) REQUIRING DEFENDANT TO CLARIFY HIS OBJECTIONS TO THE
    PSR AND SHOW GOOD CAUSE; (2) SETTING A BRIEFING SCHEDULE ON
  DEFENDANT’S OBJECTIONS TO THE PSR; (3) SCHEDULING AN OBJECTION
HEARING ON THE PSR ON AUGUST 17, 2022; AND (4) SCHEDULING SENTENCING
                             FOR AUGUST 30, 2022
______________________________________________________________________________

         This criminal case is set for sentencing on August 2, 2022. Defendant, in his sentencing

memorandum, levies for the first time several objections against the Probation Department’s

calculation of his sentence under the Sentencing Guidelines, as contained in the Final Presentence

Investigation Report (“PSR”). Doc. No. 68 at PageID 575. Defendant did not raise any objections

to the Initial PSR within the timeframe for review and thus deprived the Probation Officer of an

opportunity to address and resolve his objections before filing the Final PSR. See Fed. R. Crim.

P. 32(i)(1)(D); S.D. Ohio Crim. R. 32.1(h), (i). Nonetheless, the Court “may, for good cause

shown, allow a party to make a new objection at any time before sentence is imposed.” Fed. R.

Crim. P. 32(i)(1)(D).

         Accordingly, the Court requires Defendant to clarify and meaningfully develop his

objections to the Final PSR and show good cause for raising his objections for the first time in his

sentencing memorandum. See, e.g., United States v. Small, 988 F.3d 241, 257 (6th Cir. 2021)
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(noting that objections to the PSR “must be ‘more than a [defendant’s] bare denial’” (alteration in

original) (quoting United States v. Cover, 800 F.3d 275, 278 (6th Cir. 2015))); United States v.

Wales, 68 F. App’x 575, 578 (6th Cir. 2003). The Court sets the following briefing schedule: (1)

Defendant shall file a memorandum listing and supporting his objections to the Final PSR on or

before August 1, 2022; and (2) the Government shall file a response brief within 7 days after

Defendant’s filing. A hearing on the objections shall take place on August 17, 2022 at 2:30 p.m.

Thereafter, the Court will take the matter under submission and will endeavor to issue a decision

promptly on the objections before sentencing, which will now be set for August 30, 2022 at 2:00

p.m.

       IT IS SO ORDERED.

Date: July 25, 2022                                         s/Michael J. Newman
                                                            Hon. Michael J. Newman
                                                            United States District Judge




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